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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

      ATARAH MCCOY                           §
                                             §
              Plaintiff,                     §
                                             §
      v.                                     §          CIVIL ACTION NO. 4:23-cv-04127
                                             §          JUDGE CHARLES ESKRIDGE
      SHAULIS BOOKER AND                     §
      TELAMON CORPORATION                    §
                                             §          JURY REQUESTED
              Defendant.                     §
                                             §


                      TRIAL EXHIBIT LIST OF DEFENDANTS
                  SHAULIS BOOKER AND TELAMON CORPORATION

 NO.                       DESCRIPTION                  OFFER     OBJECT ADMIT          DATE

 1.        Jacob Weinberg, MD CV
 2.        John Laughlin, M.Eng., P.E. CV
 3.        Daniel Yul Kim, MD, FHM, FACP CV
 4.        Thomas Cartwright, MD CV
 5.        Elizabeth Jones, MD CV
 6.        Advance Diagnostics Medical Records
 7.        Certified Copy of Plaintiff’s Petition,
           McCoy v. US Logistics Solutions, Inc.
 8.        Plaintiff’s car photos
 9.        Defendant’s van photos
 10.       Defendant’s van repair estimate


           Defendants reserve the right to supplement and/or amend this exhibit list to include

exhibits designated by Plaintiff, which are necessary for rebuttal, and as allowed by the Federal
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Rules of Procedure.




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